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v/d CRIMINAL COMPLAINT
(Electronically Submitted)

United States District Court DISTRICT of ARIZONA

DOCKET NO.
United States of America

y. MAGISTRATE'S CASE NO.
Kenneth OCHOA
DOB: 1988; United States Citizen 24-01643MJ

Complaint for violation of Title 18, United States Code, § 554(a)

On or about March 11, 2024, in the District of Arizona, Kenneth OCHOA knowingly and fraudulently exported
and sent from the United States, and attempted to export and send from the United States, any merchandise,
article, or object contrary to any law or regulation of the United States, and received, concealed, bought, sold,
and in any manner facilitated the transportation, concealment, and sale of such merchandise, article or object, that
is, six (6) Century Arms VSKA 7.62X339 rifles, and one (1) Romarm Cugir- WASR-10-7.62x39 rifle, knowing
the same to be intended for exportation contrary to any law or regulation of the United States, to wit: Title 50,
United States Code, Section 4819; Title 15, Code of Federal Regulations, Parts 736.2, 738, and 774; all in
violation of Title 18, United States Code, Section 554(a).

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On March 11, 2024, Kenneth OCHOA attempted to exit the United States and enter the Republic of Mexico
through the DeConcini Port of Entry in Nogales, Arizona. Customs and Border Protection Officers (CBPOs)
were conducting outbound inspections when they stopped Kenneth OCHOA, the driver and sole occupant of a
2012 Fiat 500, bearing Arizona license plate OBAOPM, registered to a female who was a passenger in the
vehicle. The Customs and Border Protection (CBPO) primary officer asked OCHOA if he had any currency over
$10,000, weapons, or ammunition to declare to which he denied having any of these items. The CBPO referred
OCHOA to secondary inspection. During the inspection, CBPOs X-rayed the vehicle and observed anomalies
near the rear bumper. Due to the alert, CBPOs conducted a thorough search of the vehicle and discovered the
following: six (6) Century Arms VSKA 7.6239 rifles, and one (1) Romarm Cugir- WASR-10-7.62x39 rifle.

In a post-Miranda interview, OCHOA stated he was instructed earlier that day by an unidentified individual to
obtain the rifles from a shrubbed area near the Frontage Road in Rio Rico, AZ. After obtaining the rifles,
OCHOA concealed them in the rear bumper of his vehicle and drove around sporadically to identify any
potential surveillance. He then proceeded to pick up the passenger at her home in Rio Rico, and through the guise
of taking her out to dinner that evening, convinced her to travel with him to Mexico. OCHOA stated he wanted
her present during the crossing to potentially remove any suspicion of wrongdoing.

(BASIS OF COMPLAINT CONTINUED ON REVERSE.)

MATERIAL WITNESSES IN RELATION TO THE CHARGE: N/A

DETENTION REQUESTED SIGNATURE OF COMPLAINANT
Being duly sworn, J declare that the foregoing is Digtally signed by CLAY ASCOT
true and correct to the best of my knowledge. CLAY A SCOTP osteatastes 2 142747-0700

AUTHORIZED BY AUSA Raquel Arellano Recang SOS = [OFFICIAL TITLE
HSI Special Agent Clay Scott

Sworn by telephone _x

SIGNATURE AGISTRATE JUDGED DATE
ry Pu d..00 March 12, 2024

1) See Federal Rules of Criminal Procedure Rules 3, 4.1, and 54
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(BASIS OF COMPLAINANT’S CHARGE AGAINST THE ACCUSED CONTINUED.)

OCHOA stated he felt obligated to complete the firearms delivery because he was in fear of his and his family’s life;
however, OCHOA also went on to say that he declined several previous requests of the same nature without facing
any reprisal. OCHOA could not explain, however, why there was no danger the previous times that he declined to
smuggle weapons, but there was danger on March 11, 2024. He also admitted to facilitating the smuggling of one
“AK-47” style weapon on a previous undisclosed date, but added he was not the one who crossed the border with the
rifle.

Lastly, OCHOA admitted he was not licensed to ship/transport firearms across the U.S border or sell firearms to any
party. OCHOA added that he knew taking firearms into Mexico from the United States was illegal.

The firearms found in the vehicle OCHOA was driving qualify as United States Commerce Control List items and
therefore are prohibited by law for export from the United States into Mexico without a valid license. OCHOA
does not possess a license to export weapons into Mexico.

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(BASIS OF COMPLAINANT’S CHARGE AGAINST THE ACCUSED CONTINUED.

